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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 STEPHEN YANG,

                                 Plaintiff,                    Docket No. 18-cv-07628

        - against -                                            JURY TRIAL DEMANDED

 MIC NETWORK, INC.

                                 Defendant.


                                          COMPLAINT

       Plaintiff Stephen Yang (“Yang” or “Plaintiff”) by and through his undersigned counsel,

as and for his Complaint against Defendant Mic Network, Inc. (“Mic Network” or “Defendant”)

hereby alleges as follows:

                                  NATURE OF THE ACTION

       1.       This is an action for copyright infringement under Section 501 of the Copyright

Act and for the removal and/or alteration of copyright management information under Section

1202(b) of the Digital Millennium Copyright Act. This action arises out of Defendant’s

unauthorized reproduction and public display of a copyrighted photograph of Dan Rochkind,

owned and registered by Yang, a New York based professional photographer. Accordingly,

Yang seeks monetary relief under the Copyright Act of the United States, as amended, 17 U.S.C.

§ 101 et seq.

                                 JURISDICTION AND VENUE

       2.       This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
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       3.      This Court has personal jurisdiction over Defendant because Defendant resides

with its principal place of business in New York, in this Judicial District.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).

                                             PARTIES

       5.      Yang is a professional photographer in the business of licensing his photographs

to online and print media for a fee having a usual place of business at 270 Empire Boulevard,

#1K, Brooklyn, New York 11225.

       6.      Upon information and belief, Mic Network is a foreign business corporation duly

organized and existing under the laws of the State of Delaware, with a place of business at 85

Fulton Street 82nd Floor, New York, New York 10007. Upon information and belief Mic

Network is registered with the New York Department of State Division of Corporations to do

business in the State of New York. At all times material, hereto, Mic Network has owned and

operated a website at the URL: https://Mic.com (the “Website”).

                                   STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Yang photographed Dan Rochkind at Mel’s Burger Bar in or around April, 2017

(the “Photograph”). A true and correct copy of the Photograph is attached hereto as Exhibit A.

       8.      Yang then licensed the Photograph to the New York Post. On April 12, 2017 teyh

New York Post ran an article that featured the Photograph, titled Why I Don’t Date Hot Women

Anymore. See URL https://nypost.com/2017/04/12/why-hot-people-arent-worth-dating/. Yang’s

name was featured in a gutter credit identifying him as the photographer of the Photograph. A

true and correct copy of the New York Post article is attached hereto as Exhibit B.
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       9.      Yang is the author of the Photograph and has at all times been the sole owner of

all right, title and interest in and to the Photograph, including the copyright thereto.

       10.     The Photograph, titled Yang_Dan Rochkind, 4-12-17 was timely registered with

the United States Copyright Office and was given registration number VA 2-055-141, effective

June 22, 2017. See Exhibit C.

       B.      Defendant’s Infringing Activities

       11.     On or about April 13, 2017, Mic Network ran an article on the Website that

featured the Photograph, titled Twitter Is Skewering The New York Post for A Piece on Why Man

Won't Date Hot Women. See URL https://mic.com/articles/174065/twitter-is-skewering-the-new-

york-post-for-a-piece-on-why-man-won-t-date-hot-women#.qkRoPPMW3. (The “Article”). A

true and correct copy of the Article is attached hereto as Exhibit D.

       12.     The Article prominently featured the Photograph as the banner image of the

Article, which is the primary image shown when the image is shared on Social Media and is a

substantial driver of traffic to the Article, and in numerous embedded tweets within the Article.

A true and correct copy of a screenshot of Article and the Photograph as shown when shared on

Social Media is attached hereto as Exhibit E.

       13.     Mic Network did not license the Photograph from Plaintiff for its article, nor did

Mic Network have Plaintiff’s permission or consent to publish the Photograph on its Website.

                            FIRST CLAIM FOR RELIEF
                    (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                               (17 U.S.C. §§ 106, 501)

       14.     Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-13 above.
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          15.     Mic Network infringed Plaintiff’s copyright in the Photograph by reproducing and

publicly displaying the Photograph on the Website. Mic Network is not, and has never been,

licensed or otherwise authorized to reproduce, publically display, distribute and/or use the

Photograph.

          16.     The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          17.     Upon information and belief, the foregoing acts of infringement by Defendant

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          18.     As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.

          19.     Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work

infringed for Defendant’s willful infringement of the Photograph, pursuant to 17 U.S.C. § 504(c).

          20.     Plaintiff further is entitled to his attorney’s fees and full costs pursuant to

17 U.S.C. § 505.


                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests judgment as follows:

          1.      That Defendant Mic Network be adjudged to have infringed upon Plaintiff’s

                  copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

          2.      The Defendant Mic Network be adjudged to have falsified, removed and/or

                  altered copyright management information in violation of 17 U.S.C. § 1202.
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       3.      That Plaintiff be awarded either: a) Plaintiff’s actual damages and Defendant’s

               profits, gains or advantages of any kind attributable to Defendant’s infringement

               of Plaintiff’s Photograph; or b) alternatively, statutory damages of up to $150,000

               per copyrighted work infringed pursuant to 17 U.S.C. § 504;

       4.      That Defendant be required to account for all profits, income, receipts, or other

               benefits derived by Defendant as a result of its unlawful conduct;

       5.      That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to

               17 U.S.C. § 504.

       6.      That Plaintiff be awarded pre-judgment interest; and

       7.      Such other and further relief as the Court may deem just and proper.

                                  DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).


Dated: Valley Stream, New York
       August 21, 2018
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